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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
             v.                                :
                                               :      Case No. 21-cr-00085(CRC)
DR. SIMONE GOLD,                               :
                                               :
      Defendant.                               :

  DEFENDANT’S RESPONSE TO GOVERNMENT SENTENCE MEMO

      There are two differences of opinion here with regard to some of the facts,

and a few facts need clarification. The defense does so here.

      The government, in their sentencing memorandum, paints a picture of Dr.

Gold as if she is antagonizing the officers that asked her to stop her speech and

move along. This is not so. The “multiple law enforcement requests for her to

leave,” See ECF 68, p. 3 were simply that-requests and when one officer asked her

to leave and she tried to ask him if she could finish her speech, another officer

approached and pushed her along as he had other protesters in the building that

day. There were not six officers that asked her to go, nor did it take six officers to

get her moving. The government also makes much of Dr. Gold not helping the

officer that was pulled down next to her, but it’s clear from the photos in the

government’s memo and the video exhibit that Dr. Gold was packed among others

at the door. Critically, the video shows that she also was pulled down at the same

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time the officer was pulled down by a man behind him. It would by physically

impossible for Dr. Gold to help him. Again, more assumptions by the government

but the video shows the impossibility of her rendering any aid to anyone.

      Dr. Gold never did any chanting such as “stop the steal” or any other such

chant that day. Again, the government overreaches and embellishes the facts by

saying “each person who entered the Capitol on January 6 without authorization

did so under the most extreme or circumstances.” See Gov’t sentence memo, pps.

15-16. Undersigned counsel has many cases with defendants that simply walked

into the Capitol under normal circumstances, through a door, with officers present.

Dr. Gold did not cross any barriers or barricades. She also did not see “extensive

fighting with law enforcement officers” as the government again assumes facts not

in evidence. Id.

      The government is also wrong about Dr. Gold’s payment of legal fees. Dr.

Gold paid undersigned counsel out of her personal funds-absolutely nothing from

the non-profit. The government also puts great emphasis on the fact that Dr. Gold

and her co-defendant stood around the area close to the House chamber. But Dr.

Gold had no idea where she was at that time.

      The government further argues that this Court should assess such conduct on

a spectrum of aggravating and mitigating circumstances, to include: (1) whether,

when, and how the defendant entered the Capitol building-she entered through a


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door with a large crowd, on the East side with no scaffolding and violence like the

Senate wing door side; (2) whether the defendant encouraged violence-she did not;

(3) whether the defendant encouraged property destruction-absolutely not; (4) the

defendant’s reaction to acts of violence or destruction-she is appalled; (5) whether

during or after the riot, the defendant destroyed evidence-absolutely not-she gave

the FBI evidence when she was arrested; (6) the length of the defendant’s time

inside of the building, and exactly where the defendant traveled-Dr. Gold does not

dispute that she was in the building for approximately one hour and was in several

areas; (7) the defendant’s statements in person or on social media-no social media

postings, and her Washington Post interview where she stated her deep regret at

going into the Capitol; (8) whether the defendant cooperated with, or ignored

commands from law enforcement officials-she completely cooperated during her

arrest; she asked officers for a period of approximately three seconds if she could

finish her speech, but peacefully left when another officer put his hands on her

shoulder and ushered her along; and (9) whether the defendant demonstrated

sincere remorse or contrition-she has done so since January 11, 2021 and continues

to do so still. See defense exhibit video testimony.

      At this juncture, the government has committed the logical fallacy of note

that hinders their “argument.” This fallacy being a fallacy of composition:

assuming that a part (Dr. Gold) of the whole (the protesters) has all the properties


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of the whole itself. That is, the government’s mistake is thinking that, because Dr.

Gold is a part of a larger crowd (in which other members of the crowd were indeed

violent) she also shares in the same properties as everyone else in the crowd (being

violent), but she does not.1

       What is most important is what Dr. Gold said 5 days after January 6-that she

regretted even going into the Capitol that day-another fact the government omits

from their sentence memo. She never lied to the Washington Post reporter about

what she saw. As this Court has surely seen from other cases and public footage,

there were many peaceful protesters outside the Capitol that day-ladies pushing

baby carriages and people peacefully protesting-but that doesn’t fit the government

narrative, so they just accuse her of lying about what she actually saw and

experienced that day. This should not be tolerated by this Court. The facts before




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  The probation officer states in his recommendation that Dr. Gold “entered willfully and
knowingly for the purpose of disrupting the certification of the 2020 Presidential Election
results.” This is untrue, not in the statement of offense and the defense objects to this
characterization, although the plea agreement does say that the dismissed counts are based in
fact, because this is the standard form for all of these plea agreements. Dr. Gold was offered a
plea to a misdemeanor count because the government could not prove the felony count. The
probation officer also notes that Dr. Gold’s co-defendant is her “38 year old boyfriend” in the
probation officer’s PSR and in his recommendation. How is John Strand’s age at all relevant?
This is a personal attack on Dr. Gold’s private life and really uncalled for here. The probation
officer also states in his recommendation that “Gold utilized a bullhorn while in
Statuary Hall, conduct which enhanced the chaos and fueled the riot.” Again, not true. There is
not one iota of evidence that her conduct fueled the riot. She did use a bullhorn, but the people
listening to her speech were calm. Unlike the majority of protesters and rioters, she was there to
promote her message against government imposed mandates.
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the Court show a person who made a serious mistake, who regrets her mistake, and

will spend a lifetime of trying to make up for it. Surely that’s punishment enough.



                                             Respectfully submitted,

                                                  ____________ /s/
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                          CERTIFICATE OF SERVICE

      I hereby certify on the 14th day of June, 2022 a copy of same was delivered

to the parties of record, by ECF and email pursuant to the Covid standing order

and the rules of the Clerk of Court.

                                                                  /S/
                                            Kira Anne West




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